Case 1:18-cv-00783-VAC-MPT Document 7 Filed 07/16/18 Page 1 of 2 PageID #: 52



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE



E CREDIT EXPRESS, INC.,

                    Plaintiff,
                                                        C.A. No. 1:18-cv-783-VAC-MPT
        v.
                                                        JURY TRIAL DEMANDED
AUTOGRAVITY CORPORATION,

                   Defendant.




                      AUTOGRAVITY CORPORATION’S
              MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM

       Defendant AutoGravity Corporation (“AutoGravity”) respectfully moves this Court to

dismiss Plaintiff E Credit Express, Inc.’s Complaint, pursuant to Rule 12(b)(6) of the Federal

Rules of Civil Procedure, for failure to state a claim upon which relief can be granted.

       The grounds for this motion are further set forth in AutoGravity’s Opening Brief in

Support of its Motion to Dismiss for Failure to State a Claim, which is being filed

contemporaneously herewith.
Case 1:18-cv-00783-VAC-MPT Document 7 Filed 07/16/18 Page 2 of 2 PageID #: 53



Dated: July 16, 2018                  FISH & RICHARDSON P.C.

                                      By: /s/ Jeremy D. Anderson
                                          Jeremy D. Anderson (Bar No. 4515)
                                          222 Delaware Avenue, 17th Floor
                                          Wilmington, Delaware 19899
                                          (302) 652-5070 (Telephone)
                                          janderson@fr.com

                                          Neil J. McNabnay
                                          David B. Conrad
                                          Ricardo J. Bonilla
                                          Rodeen Talebi
                                          1717 Main Street, Suite 5000
                                          Dallas, Texas 75201
                                          (214) 747-5070 (Telephone)
                                          (214) 747-2091 (Facsimile)
                                          mcnabnay@fr.com; conrad@fr.com;
                                          rbonilla@fr.com; talebi@fr.com

                                      ATTORNEYS FOR DEFENDANT
                                      AUTOGRAVITY CORPORATION




                                      2
